  Case 11-27934       Doc 808      Filed 10/02/18 Entered 10/02/18 14:21:50          Desc Main
                                    Document     Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


     ARNOLD R. DORMER, JR.,                                        Case No. 11-27934-PJD

             Debtor                                                Chapter 11


 MOTION TO DETERMINE LOAN BALANCES OWED BY REORGANIZED DEBTOR
 TO FAY SERVICING LLC, AS ASSIGNEE OF WELLS FARGO HOME MORTGAGE



        Comes now Arnold R. Dormer, Jr., the Reorganized Dormer (“Dormer”), by counsel, and

moves the Court, pursuant to the terms of the Confirmed Plan of Reorganization, to determine

proper balances owed by Dormer to Fay Servicing LLC (“Fay”), as assignee of Wells Fargo Bank,

N.A. (“Wells Fargo”), and in support of his Motion, would show the Court as follows:

                                               FACTS

       1.      This Chapter 11 case was filed on August 5, 2011.

       2.      On January 27, 2012, Dormer filed his Second Amended Plan of Reorganization

(the “Plan”). Wells Fargo was listed as a creditor under Class 151 of the Plan.

       3.      Wells Fargo filed certain objections to the Plan. With regard to the Class 151 Claim

secured by 4041 Knob, Memphis, Tennessee, Dormer and Wells Fargo resolved the objection by

making modifications to the treatment of the Class 151 claim as set forth in the Agreed Order

entered on July 31, 2012 [D.E. 613].

       4.      On August 30, 2012, the Court entered its Order Confirming Plan [D.E. 652].


       5.      The effective date of the Plan was October 15, 2012.

       6.      Fay, as assignee of Wells Fargo, has failed to provide correct itemized statements of

the outstanding loan balances prior to the effective date of the Plan.
    Case 11-27934        Doc 808      Filed 10/02/18 Entered 10/02/18 14:21:50          Desc Main
                                       Document     Page 2 of 3


          7.     In spite of repeated communications requesting that Fay recognize the effect of the

  confirmed Plan, adjust its records accordingly, and provide correct statements, it has failed to do

  so.

          8.     The Reorganized Dormer moves the Court to compel Fay to comply with the terms

  of the Agreed Order of July 31, 2012 and the Order Confirming Plan.

                 WHEREFORE, Dormer prays that the Court make a determination that the principal

  balance owed to Fay is as set out in the Agreed Order resolving its Objection to Confirmation as of

  the Effective Date and that all payments due under the Plan are current, that the Court compel Fay

  to comply with the terms of the Agreed Order of July 31, 2012 and the Order Confirming Plan and

  provide correct statements, and for such other relief to which he may be entitled.



                                               Respectfully submitted,

                                               BEARD & SAVORY, PLLC

                                               /s/ Russell W. Savory

                                               Russell W. Savory (12786)
                                               Attorney for Arnold R. Dormer, Jr.
                                               119 South Main Street, Suite 500
                                               Memphis, TN 38103
                                               901-523-1110



                                      CERTIFICATE OF SERVICE

        I, Russell W. Savory, do hereby certify that a true and genuine copy of the foregoing pleading

has been served on following parties by electronic notice or U.S. Mail, this 2nd day of October, 2018:

Fay Servicing
P.O. Box 809441
Chicago, IL 60680
Case 11-27934   Doc 808   Filed 10/02/18 Entered 10/02/18 14:21:50   Desc Main
                           Document     Page 3 of 3




                                 /s/ Russell W. Savory
                                 ____________________________________
                                 Russell W. Savory
